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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.: 0:19cv62006

 RYAN TURIZO,

        Plaintiff,

 v.

 PPF AMLI 5971 TOSCANA DRIVE, LP,

       Defendant.
 _______________________________________/

                           COMPLAINT AND DEMAND FOR JURY TRIAL
                                INJUNCTIVE RELIEF SOUGHT

        Plaintiff RYAN TURIZO (“Plaintiff”) sues Defendant PPF AMLI 5971 TOSCANA

 DRIVE, LP (“Defendant”) for violating 42 U.S.C. § 3601 et seq., the Fair Housing Act.

                                          JURISDICTION AND VENUE

        1.         Jurisdiction of this Court arises under 42 U.S.C. § 3613(a), 28 U.S.C. § 1331, and

 28 U.S.C. § 1337.

        2.         Venue in this District is proper because the subject property is located in this

 district, Plaintiff resides in this district, Defendant transacts business in this district, and the

 complained conduct of Defendant occurred in this district.

                                                          PARTIES

        3.         Plaintiff is a natural person, an Hispanic/Latino descent, male, and a citizen of the

 State of Florida, residing in Broward County.

        4.         Plaintiff is a tester. Plaintiff seeks to enforce fair housing laws to protect individuals

 from discriminatory housing practices by, among other things, investigating entities governed by

 Fair Housing Act (“FHA”) and perusing enforcement of meritorious claims. Without intent to rent
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 or purchase, Plaintiff poses as a renter or purchaser for the purpose of collecting evidence of

 discriminatory housing practices. At all times material, Plaintiff was acting as a tester when

 Plaintiff conducted an investigation into the discriminatory actions and/or practices of Defendant.

        5.         Defendant is a Delaware limited partnership, with its principal place of business

 located at 141 W. Jackson Blvd, Suite 300, Chicago, IL 60604.

                                          DEMAND FOR JURY TRIAL

        6.         Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                            FACTUAL ALLEGATIONS

        7.         On or about July 22, 2019, Plaintiff, in his capacity as a tester, contacted Defendant

 to inquire about one of the properties Defendant holds open to the public for rent, namely, a

 dwelling located within the AMLI Toscana Place community (the “Dwelling”), located at 5971

 Toscana Drive, Davie, Florida 33314.

        8.         As part of Plaintiff’s investigation into potential discrimination in the housing

 market, Plaintiff inquired about Defendant’s policy regarding the criminal record of applicants

 applying to rent the Dwelling. Defendant responded by stating that any felony criminal record

 would result in an automatic denial of an applicant seeking to rent the Dwelling.

        9.         The actions and statements of Defendant, inter alai, the policy to automatically

 deny any prospective individual with a felony criminal record, serves to discourage Plaintiff from

 applying, inspecting, and renting the Dwelling, and otherwise restrict the choices of Plaintiff in

 connection with Plaintiff’s attempts to seek, negotiation for, and ultimately rent the Dwelling.

        10.        The policy of Defendant to automatically deny any prospective individual with a

 felony criminal record perpetuates segregated housing patterns and discourages and/or obstructs




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 choices in the applicable community, neighborhood, and/or development. As such, the actions of

 Defendant consuetude efforts to deprive Plaintiff of housing opportunities.

         11.     Defendant’s policy regarding the criminal history of applicants seeking to rent,

 utilize, or otherwise occupy the Dwelling is unlawful under the Fair Housing Act, as it has a

 disparate impact on individuals of Hispanic/Latino heritage and/or descent.

         12.     Plaintiff was and is saddened, angered, and insulted, by Defendant’s policy

 regarding the criminal history of applicants because said policy has a discriminatory impact and

 serves no substantial, legitimate, nondiscriminatory interest, and otherwise results in the wrongful

 denial of applicants, such as Plaintiff.

         13.     The acts and omissions of Defendant proximately caused Plaintiff to suffer the

 above-mentioned emotions, which have manifested into stress, unpleasant rumination, mental

 strain, and feelings of indignity, hopelessness, and anxiety within the context of racial

 discrimination in housing.

         14.     Consistent with Plaintiff’s fair housing testing efforts, Plaintiff has a practice of

 continuing to monitor and test those entities and individuals found to have been engaged in

 discriminatory housing practices. As such, Plaintiff will continue monitoring Defendant, and

 Defendant’s agents, in order to determine its (Defendant’s) ongoing compliance with the Fair

 Housing Act.

                                          COUNT I.
                             VIOLATION OF THE FAIR HOUSING ACT

         15.     Plaintiff incorporates by reference paragraphs 1-14 of this Complaint as though

 fully stated herein.

         16.     Defendant is liable to Plaintiff for all injuries caused by the Fair Housing Act

 violations committed by Defendant and the agents of Defendant.
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        17.      Defendant authorized its agents to act for it (Defendant) when Defendant’s agents

 committed the Fair Housing Act violations alleged herein. The agents of Defendant accepted the

 undertaking of acting on behalf of Defendant when the they (Defendant’s agents) committed the

 Fair Housing Act violations alleged herein. Defendant had control over its (Defendant’s) agents

 when said agents committed the Fair Housing Act violations alleged herein.

        18.      Defendant has violated the Fair Housing Act by, inter alia, making unavailable

 and/or otherwise denying the Dwelling to Plaintiff on the basis of race and/or criminal record.

        19.      A discriminatory purpose, and not any legitimate reason, was a motivating factor

 behind Defendant’s policy regarding the criminal history of applicants seeking to rent, utilize, or

 otherwise occupy the Dwelling.

        20.      As a result of Defendant’s discriminatory conduct, coupled with Plaintiff’s ongoing

 monitoring efforts, Plaintiff has suffered, is suffering, and will continue to suffer, irreparable loss

 and injury, and a real and immediate threat of future discrimination at the hands of Defendant.

        21.      Plaintiff, as a tester who has been treated in a discriminatory fashion by Defendant,

 has suffered an injury in precisely the form the Fair Housing Act was intended to guard against,

 thus, Plaintiff has standing to maintain this action against Defendant under the Fair Housing Act’s

 provisions.

        22.      Accordingly, Plaintiff is aggrieved by the discrimination actions of Defendant in

 violation the Fair Housing Act.

        23.      WHEREFORE, Plaintiff, respectfully, requests that this Court:

                 (a)       Declare the above-mentioned actions, omissions, polices, and procedures,
                           of Defendant to be in violation of the Fair Housing Act.

                 (b)       Award compensatory damages to Plaintiff against Defendant.


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               (c)       Enter a permanent injunction enjoining Defendant from discriminating
                         against individuals on the basis of race and/or criminal history;

               (d)       Enter a permanent injunction compelling Defendant to amend its
                         (Defendant’s) polices, procedures, and practices, that discriminate against
                         individuals on the basis of race and/or criminal history;

               (e)       Award Plaintiff costs and reasonable attorneys’ fees; and

               (f)       Any other relief that this Court deems appropriate and just under the
                         circumstances.

               DATED: August 10, 2019

                                                             Respectfully Submitted,

                                                              /s/ Jibrael S. Hindi                                   .
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